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                              UNITED STATES DISTRICT Court
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

       UNITED STATES OF AMERICA,

             Plaintiff,

       v.                                               Case No. 8:05-cr-498-T-17MSS

       DONALD R. HARTWIG.

             Defendant.


                               FINAL ORDER OF FORFEITURE

             THIS CAUSE comes before the court upon the filing of a Motion by the

       United States of America for a Final Order of Forfeiture for the following property:

                     1.    One 2004 Chevrolet 3500 pick-up truck, VIN:
                           1GCJK33284F216789, seized from the defendant on or
                           about July 1, 2005; and

                     2.    $3,610.00 in U.S. currency seized collectively from the
                           defendant and Abraham Saucedo-Lopez on or about July 1,
                           2005.

             Accordingly, for good cause shown, it is hereby ORDERED, ADJUDGED

       AND DECREED that the Motion of the United States is GRANTED.

             It is further ORDERED that the above-referenced property is hereby

       forfeited to the United States of America pursuant to the provisions of 21 U.S.C.

       § 853(n)(7), and Fed. R. Crirn. P. 32.2(~)(2).
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                 It is further ORDERED that the United States Marshals Service be and is

       hereby given full possession and control of the property for disposition pursuant

       to law.

                 It is further ORDERED that as soon as practicable after entry of the Final

       Order of Forfeiture, the United States shall pay Membersource Credit Union

       $1 5,000.00, in full satisfaction of their lien.

                 DONE and ORDERED in Chambers in Tampa, Florida, this         9   *   day of




        Copies to:
        Adelaide G . Few, AUSA
        Counsel of Record
